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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION



UNITED STATES OF AMERICA,

v.                                                 CASE NO. 5:03cr13-RH/WCS
                                                          5:04cv230-RH/WCS
CESAR ESTRADA,

            Defendant.

_________________________________/


                      ORDER DENYING §2255 MOTION


      This matter is before the court on the magistrate judge’s second report and

recommendation (document 269), to which no objections have been filed. The

recommendation is for denial of the last remaining claim for relief under 28 U.S.C.

§2255, without an evidentiary hearing (defendant having moved for determination

of the claim without a hearing). The other claims presented in the same §2255

motion were denied by an earlier order (document 261) accepting an earlier report

and recommendation (document 259). I conclude that the second report and

recommendation is correct and that judgment denying all defendant’s claims thus

should be entered.

      Accordingly,
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         IT IS ORDERED:

         The second report and recommendation is ACCEPTED and adopted as the

opinion of the court. Defendant’s motion to waive an evidentiary hearing

(document 266) is GRANTED. Defendant’s motion, as amended, for relief under

28 U.S.C. §2255 (document 231) is DENIED WITH PREJUDICE. The clerk shall

enter judgment and close the file.

         SO ORDERED this 2d day of October, 2006.

                                                          s/Robert L. Hinkle
                                                          Chief United States District Judge




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